                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MISSOURI
                                    WESTERN DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
                      Plaintiff,                   )
                                                   )
vs.                                                )       Case No. 14-00166-08-CR-W-GAF
                                                   )
JESUS HERNANDEZ-MUJICA,                            )
                                                   )
                      Defendant.                   )

                                               ORDER

       On January 13, 2016, defendant entered a plea of guilty to Count One of the Superseding

Indictment before Chief United States Magistrate Judge Sarah W. Hays. On January 27, 2016, Judge

Hays issued her Report and Recommendation (Doc. 403). Objections were due on or before February

16, 2016. No objections were filed.

       Upon careful and independent review, this Court finds that defendant’s plea was knowledgeable

and voluntary and that the offense charged is supported by an independent basis in fact containing each

of the essential elements of such offense. Accordingly, this Court hereby adopts and incorporates as its

own Opinion and Order the Report and Recommendation of Chief United States Magistrate Judge Sarah

W. Hays.

       Accordingly, it is hereby ORDERED that defendant’s plea of guilty is accepted and defendant is

adjudged guilty. The defendant’s sentencing hearing will be scheduled and the parties notified of the

date and time of sentencing.




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      SO ORDERED.

                                         s/ Gary A. Fenner
                                         GARY A. FENNER, JUDGE
                                         UNITED STATES DISTRICT COURT

DATED: February 18, 2016




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